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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 STATE OF NEW YORK, et al.,

                       Plaintiffs,

        v.                                             Case No. 1:25-cv-10601-MJJ

LINDA McMAHON, in her official
capacity as Secretary of Education, et al.,

                       Defendants.




 SOMERVILLE PUBLIC SCHOOLS, et al.,

                       Plaintiffs,

        v.                                             Case No. 1:25-cv-10677-MJJ

DONALD J. TRUMP, in his official
capacity as President of the United States,
et al.,

                       Defendants.



                                     NOTICE OF APPEAL

       PLEASE TAKE NOTICE that all Defendants hereby appeal to the United States Court of

Appeals for the First Circuit from this Court’s May 22, 2025 Memorandum and Order on

Consolidated Plaintiffs’ Motions for Preliminary Injunction entered in State of New York, et al. v.

McMahon, et al., No. 1:25-cv-10601-MJJ (ECF No. 128) and Somerville Public Schools, et al. v.

Trump, et al., No. 1:25-cv-10677-MJJ (ECF No. 45).
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Dated: May 22, 2025                YAAKOV M. ROTH
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                                  CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants.

Dated: May 22, 2025




                                                  /s/ Brad P. Rosenberg
                                                  BRAD P. ROSENBERG
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